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                          IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF GEORGIA
                                    ALBANY DIVISION

  TERRI FREEMAN,

          Plaintiff,                                                 Civil Action No.:

  v.                                                                  1:21-cv-00112

  ALKERMES, INC.,

          Defendant.                                          JURY TRIAL DEMANDED

                                          COMPLAINT

       COMES NOW Plaintiff Terri Freeman, and brings this action pursuant to the Americans

with Disabilities Act of 1990, 42 U.S.C. § 12101, et seq., as amended, the Family Medical Leave

Act of 1993, 29 U.S.C. § 2601, et seq., and the laws of the State of Georgia. Plaintiff alleges that

Defendant Alkermes, Inc. subjected Plaintiff to discrimination due to her disability, including

through its failure to provide a reasonable accommodation, forced Plaintiff to take medical leave

that she did not request or need and refused to restore Plaintiff into her position when she was able

to work, ultimately forced Plaintiff to resign from her position due to her disability, and refused to

pay Plaintiff bonuses that she earned solely because of her disability, and respectfully shows the

Court as follows:

                                 JURISDICTION AND VENUE

                                                  1.

       This Court has original jurisdiction over the subject matter of this civil action pursuant to

28 U.S.C. §§ 1331 & 1343 and the enforcement provisions of the Americans with Disabilities Act

and the Family Medical Leave Act, 29 U.S.C. § 2617. This Court should exercise its supplemental




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jurisdiction over the subject matter of Plaintiff’s state law claims in this action pursuant to 28

U.S.C. § 1367.

                                                 2.

       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because Plaintiff

resides in Leesubrg, Lee County, Georgia, and she was assigned to work, was actually employed,

and the events underlying this action occurred within this judicial district.

                                             PARTIES

                                                 3.

       Plaintiff Terri Freeman (hereinafter, “Plaintiff” or “Freeman”) is a citizen of the United

States and a resident of Georgia. At all times relevant to this suit, Ms. Freeman was employed

with Defendant Alkermes, Inc.

                                                 4.

       At all relevant times, Ms. Freeman was considered a covered, non-exempt employee under

the Americans with Disabilities Act and the Family and Medical Leave Act.

                                                 5.

       Defendant Alkermes, Inc. (hereinafter, “Defendant”) is a foreign profit corporation

incorporated under the laws of the State of Pennsylvania. Defendant may be served with process

by delivering a copy of the Summons and Complaint to its Registered Agent, C T Corporation

System, located at 155 Federal Street, Suite 700, Boston, Massachusetts 02110.

                                                 6.

       Defendant has employed in excess of 15 employees, working for at least 20 calendar

weeks, in 2020 and preceding years, and is engaged in an industry affecting interstate commerce.




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As a result, Defendant is a covered employer within the meaning of the Americans with Disabilities

Act.

                                                 7.

       Defendant is a covered employer under the Family and Medical Leave Act because

Defendant is engaged in commerce in an industry affecting commerce and had employed 50 or

more employees for each working day during each of 20 or more calendar workweeks in the

current and preceding calendar years.


                                   STATEMENT OF FACTS

                                                 8.

       Plaintiff hereby pleads and incorporates by reference all of the allegations contained in

Paragraphs 1 through 7, as if the same were set forth herein.

                                                 9.

       Ms. Freeman was employed with Defendant, which is a global pharmaceutical company,

as an outside sales representative (hereinafter, “sales rep”) for approximately five years.

                                                10.

       Ms. Freeman’s position required her to work long hours, meet with medical providers in

her sales territory in South Georgia, travel extensively throughout the state and cross-country, and

meet certain benchmarks for the sale of pharmaceutical products.

                                                11.

       As evidenced by her tenure, Ms. Freeman was qualified for the position of sale rep.

                                                12.

       Throughout her tenure, Ms. Freeman’s performance was exemplary.




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                                                 13.

        Ms. Freeman has been diagnosed with, and suffers from, a medical condition known as

rheumatoid arthritis (hereinafter, “RA”).

                                                 14.

        RA is an autoimmune disorder that results in a person’s immune system to mistakenly

attack tissues throughout such person’s body. Unlike osteoarthritis, RA affects the lining of joints

and results in painful swelling and the erosion of bones over time. This inflammation also causes

damage to other parts of the body. As a result of her RA, Ms. Freeman often experiences the

aforementioned symptoms, along with tender and swollen joints.

                                                 15.

        Symptoms of RA such as joint stiffness and pain are often worse in the mornings and after

periods of sitting or inactivity.

                                                 16.

        RA also results in fatigue, fever, and loss of appetite.

                                                 17.

        The onset of RA systems are known as “flares” and are often unpredictable with varying

levels of pain.

                                                 18.

        Ms. Freeman’s RA symptoms are also exacerbated by stress.

                                                 19.

        In addition to the impacts that RA has on Ms. Freeman’s ability to walk, travel, eat, and sit

for extended periods of time, she found that the disease and its symptoms sometimes interfered

with Ms. Freeman’s ability to work at times.



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                                                20.

       As a result of the foregoing, Ms. Freeman had a disability within the meaning of the

Americans with Disabilities Act during her tenure working for Defendant.

                                                21.

       In the final quarter of 2018, Ms. Freeman began to experience a worsening of her condition

that required her to occasionally take time off of work because of the symptoms. As a result of

taking approximately 34 days of leave from work in that quarter because of her medical condition,

Ms. Freeman did not hit some of her benchmarks.

                                                22.

       At that time, Defendant threatened to place Ms. Freeman on a performance improvement

plan (hereinafter, “PIP”) and she was given a negative performance review.

                                                23.

       Ms. Freeman was concerned about Defendant’s threat because she knew that being placed

on a PIP would disqualify her from being considered for promotions and receiving bonuses, and

she also knew that it would increase the likelihood that she could be laid off.

                                                24.

       Still, Ms. Freeman met most of Defendant’s benchmarks for her position 2018.

                                                25.

       Ms. Freeman still out-performed many of her similarly-situated coworkers, who did not

suffer from RA or another disability, and Defendant did not threaten to place the other coworkers

on a performance improvement plan.




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                                                26.

       Ms. Freeman pushed hard and her performance improved substantially during the

beginning of 2019.

                                                27.

       However, in April 2019, Ms. Freeman’s medical provider found that the RA was not

responding as he expected to medication and treatment that had been prescribed. Because of this,

along with the stress brought on by Ms. Freeman’s position and all of the travel that was required

of her, Ms. Freeman’s doctor recommended that she take a brief period of leave in order to alleviate

her symptoms and improve her condition.

                                                28.

       Defendant approved Ms. Freeman’s request for leave pursuant to the Family and Medical

Leave Act and short-term disability benefits, and Ms. Freeman took a short leave of absence.

                                                29.

       As a result of Ms. Freeman’s request for leave, Defendant was aware of Ms. Freeman’s

medical condition, and thereafter regarded her as a person with a disability.

                                                30.

       The rheumatologist cleared Ms. Freeman to return to work on July 1, 2019, and the doctor

suggested some restrictions that would help alleviate the risk of flare ups. For example, the doctor

suggested that Ms. Freeman reduce the amount of time that she would spend driving and that there

should not be any prolonged sitting, standing, or walking.




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                                                 31.

       The doctor also suggested that Ms. Freeman reduce the overall number of hours that she

was working, and that Ms. Freeman be granted liberal leave so she could follow up with her doctors

or in the event that an unexpected flare occurred.

                                                 32.

       Defendant has a dress code for its sales reps that includes professional attire, and its female

sales reps were required to wear shoes with at least a low heel. Ms. Freeman’s rheumatologist

suggested that Defendant permit Ms. Freeman to wear more comfortable shoes, such a sneakers,

to avoid the foot pain associated with her RA.

                                                 33.

       After Ms. Freeman discussed the suggestions with her medical provider, and in anticipation

for her July 1, 2019 return to work, Ms. Freeman sent a letter to Human Resources just before she

was set to go back. This letter explained Ms. Freeman’s medical condition and provided the

specific accommodations that Ms. Freeman and her doctor discussed.

                                                 34.

       On the morning of July 1, 2019, Ms. Freeman sent an email to her supervisor as notice that

she had begun work for the day since she worked remotely.

                                                 35.

       Even though Ms. Freeman’s doctor had explicitly cleared Ms. Freeman to return to work

on July 1, 2019 in a doctor’s note dated May 20, 2019, Defendant refused to allow Ms. Freeman

to come back to work.




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                                               36.

        Specifically, Ms. Freeman received a call on her first day back from Defendant’s Vice

President of Human Resources Shannon Smith (hereinafter, “VP Smith”), who told Ms. Freeman

that she was not able to come back until she provided a “return to work” letter from her doctor.

VP Smith also stated that Ms. Freeman had to be at 100% in order to return to work.

                                               37.

        Defendant did not respond to Ms. Freeman’s requested accommodations that she had asked

for in writing just before her return.

                                               38.

        By July 8, 2019, Ms. Freeman had not heard anything else from Defendant, and she was

able to see her doctor that day. When the rheumatologist discovered that Defendant was not

honoring the restrictions that he provided for Ms. Freeman, the doctor felt like keeping Ms.

Freeman out of work for several more weeks was the only option.

                                               39.

        In his doctor’s note on the same date, the rheumatologist said that he was recommending

that Ms. Freeman be excused until August 1, 2019, but she could “continue working after that with

the following restrictions: 1) Limit drive time to less than 1.5 hours consecutively. 2) Should be

allowed to wear comfortable shoes.”

                                               40.

        As Ms. Freeman’s August 1, 2019 return date approached, Defendant had still failed to

address the doctor’s restrictions and Ms. Freeman’s request for reasonable accommodations, which

gave Ms. Freeman and her doctor the impression that it was refusing to modify Ms. Freeman’s

schedule or provide her with any accommodation.



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                                               41.

       As a result of Defendant’s failure to provide Ms. Freeman with what she requested, her

doctor decided to keep her out of work until September 1, 2019.

                                               42.

       In early September 2019, Ms. Freeman spoke to VP Smith. VP Rep. Smith explained that

Ms. Freeman’s short-term disability benefits would be ending soon, and therefore it was nearing

time to “part ways.”

                                               43.

       On October 31, 2019, Ms. Freeman learned from Defendant’s third-party benefits

administrator that Ms. Freeman’s application for long-term disability benefits had been approved.

                                               44.

       However, Ms. Freeman had not submitted or otherwise requested long-term disability

benefits.

                                               45.

       Soon after Ms. Freeman spoke to the third-party benefits administrator, VP Smith

contacted Ms. Freeman out of the blue. VP Smith explained that Ms. Freeman was not going to

be approved for long-term disability benefits unless she immediately tendered her resignation.

                                               46.

       Ms. Freeman was taken aback by this news and was not sure what she was supposed to do.

Ms. Freeman asked VP Smith for more time before she had to submit her resignation, and VP

Smith said that it would be fine if Ms. Freeman submitted her resignation by email the following

day.




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                                                47.

          Based on Defendant’s failure to grant, or even discuss, the accommodations that Ms.

Freeman had requested, Defendant gave Ms. Freeman the belief that she was going to be unable

to work due to her medical condition.

                                                48.

          Since Defendant indicated that Ms. Freeman would not receive any form of compensation

or benefits unless she tendered her resignation, Ms. Freeman felt as though her only choice was to

resign.

                                                49.

          On November 1, 2019, the day after the conversation with VP Smith, Ms. Freeman

submitted her resignation as instructed.

                                                50.

          Earlier in October 2019, Ms. Freeman spoke with Leave of Absence Specialist Helesha

Carey, who assured Ms. Freeman that she would still be able to receive a bonus for meeting her

production numbers earlier in the year, despite being on leave in the third quarter of 2019.

                                                51.

          However, when Ms. Freeman received a bonus on December 13, 2019 that was much

smaller than she had expected, she followed up with Defendant. At that time, Defendant informed

Ms. Freeman that, even though her sales numbers should have qualified her for a bonus, she would

not receive a bonus for Q3 2019 solely because she was on medical leave at that time.




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                             Procedural/Administrative Background

                                               52.

       On or about April 29, 2020, Ms. Freeman submitted her Charge of Discrimination to the

Equal Employment Opportunity Commission (hereinafter, “EEOC”), alleging that she had been

subjected to discrimination based disability, including Defendant’s failure to provide a reasonable

accommodation, in violation of the Americans with Disabilities Act. The EEOC assigned Ms.

Freeman Charge Number 410-2020-05344.

                                               53.

       Defendant had notice of Ms. Freeman’s Charge of Discrimination, participated in the

proceedings before the EEOC, and was represented by counsel during said proceedings.

                                               54.

       On March 15, 2021, Ms. Freeman, through counsel, received a Dismissal and Notice of

Rights issued by the EEOC dated March 10, 2021.

                                               55.

       Ms. Freeman has exhausted her administrative remedies as to her Charge of Discrimination

and she is filing the instant action within ninety days of the EEOC’s issuance of, and her receipt

of, a Dismissal and Notice of Rights.

                                 COUNT I:
                   DISCRIMINATION BASED ON DISABILITY
           IN VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

                                               56.

       Plaintiff hereby pleads and incorporates by reference all of the allegations contained in

Paragraphs 1 through 55, as if the same were set forth herein.




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                                                 57.

       The Americans with Disabilities Act prohibits covered entities from “discriminating

against a qualified individual on the basis of disability in regard to job application procedures, the

hiring, advancement, or discharge of employees, employee compensation, job training, and other

terms, conditions, and privileges of employment.” 42 U.S.C. § 12112(a).

                                                 58.

       As alleged herein, Defendant and Plaintiff are a covered, nonexempt employer and non-

exempt employee under the ADA, respectively. See 42 U.S.C. § 12111.

                                                 59.

       As alleged herein, Plaintiff was employed with Defendant for approximately five years and

served in the role of sales representative. Plaintiff had been performing her duties in that role, and

she was otherwise qualified and able to perform the essential functions of her job, with or without

a reasonable accommodation.

                                                 60.

       As alleged herein, Plaintiff has a disability, a history of a disability, and was perceived by

Defendant as having a disability, that substantially limits a number of major life activities.

                                                 61.

       Specifically, Plaintiff suffers from rheumatoid arthritis, which substantially limits several

major life activities for Plaintiff such as her sitting, traveling, eating, and sometimes working.

                                                 62.

       Defendant was aware of Plaintiff’s disability.

                                                 63.

       As alleged herein, Defendant forced Plaintiff to take medical leave and refused to allow



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her to work solely because of Plaintiff’s disability.

                                                 64.

        As alleged herein, Defendant forced Plaintiff to resign from her position solely because of

Plaintiff’s disability.

                                                 65.

        As alleged herein, Defendant refused to pay Plaintiff bonuses that she would have

otherwise been entitled solely because of Plaintiff’s disability.

                                                 66.

        Plaintiff has been injured by Defendant’s discrimination based on disability, and Plaintiff

is entitled to all damages allowed under the Americans with Disabilities Act, including back pay,

compensatory and punitive damages in an amount of not less than $300,000.00, reinstatement and

injunctive relief or front pay, and reasonable attorney’s fees and costs of litigation, in an amount

to be proven at trial.

                                 COUNT II:
             FAILURE TO PROVIDE A REASONABLE ACCOMMODATION
            IN VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

                                                 67.

        Plaintiff hereby pleads and incorporates by reference all of the allegations contained in

Paragraphs 1 through 55, as if the same were set forth herein.

                                                 68.

        The Americans with Disabilities Act prohibits covered entities from “discriminating

against a qualified individual on the basis of disability in regard to job application procedures, the

hiring, advancement, or discharge of employees, employee compensation, job training, and other

terms, conditions, and privileges of employment.” 42 U.S.C. § 12112(a).



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                                                 69.

       Discrimination based on disability includes an employer’s failure to make a “reasonable

accommodations to the known physical or mental limitations of an otherwise qualified individual

with a disability who is an applicant or employee, unless such covered entity can demonstrate that

the accommodation would impose an undue hardship on the operation of the business of such

covered entity.” 42 U.S.C. § 12112(b)(5)(A).

                                                 70.

       As alleged herein, Defendant and Plaintiff are a covered, nonexempt employer and non-

exempt employee under the ADA, respectively. See 42 U.S.C. § 12111.

                                                 71.

       As alleged herein, Plaintiff was employed with Defendant for approximately five years and

served in the role of sales representative. Plaintiff had been performing her duties in that role, and

she was otherwise qualified and able to perform the essential functions of her job, with or without

a reasonable accommodation.

                                                 72.

       As alleged herein, Plaintiff has a disability, a history of a disability, and was perceived by

Defendant as having a disability, that substantially limits a number of major life activities.

                                                 73.

       Specifically, Plaintiff suffers from rheumatoid arthritis, which substantially limits several

major life activities for Plaintiff such as her sitting, traveling, eating, and sometimes working.

                                                 74.

       Defendant was aware of Plaintiff’s disability.




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                                                 75.

       As alleged herein, Plaintiff and her physician requested that Defendant reduce the amount

of time that Plaintiff would be required to drive, sit, stand, or walk, allow for liberal leave for the

purposes of doctor’s appointments or in the event that she experienced an unexpected flare of her

symptoms, and permit Plaintiff to wear more comfortable shoes than were required under

Defendant’s dress code.

                                                 76.

       The accommodations requested by Plaintiff were available, would have been effective, and

would not have posed an undue hardship on Defendant.

                                                 77.

       Defendant failed and refused to provide Plaintiff with the accommodations that she

requested.

                                                 78.

       Defendant also failed and refused to engage in the interactive process to explore other

accommodations that may have been available.

                                                 79.

       Plaintiff remained out of work beginning on July 1, 2019, solely because Defendant refused

to grant, consider, or even discuss the accommodations that Plaintiff requested.

                                                 80.

       Plaintiff has been injured by Defendant’s discrimination based on disability due to its

failure to provide a reasonable accommodation for Plaintiff’s disability, and Plaintiff is entitled to

all damages allowed under the Americans with Disabilities Act, including back pay, compensatory

and punitive damages in an amount of not less than $300,000.00, reinstatement and injunctive



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relief or front pay, and reasonable attorney’s fees and costs of litigation, in an amount to be proven

at trial.

                                        COUNT III:
                             INTERFERENCE WITH RIGHTS UNDER
                              FAMILY AND MEDICAL LEAVE ACT

                                                    81.

            Plaintiff hereby pleads and incorporates by reference all of the allegations contained in

Paragraphs 1 through 55, as if the same were set forth herein.

                                                    82.

            At all times relevant to this Complaint, Defendant was a covered, non-exempt employer

pursuant to the Family and Medical Leave Act of 1993, 29 U.S.C. § 2601, et seq.

                                                    83.

            As alleged herein, Plaintiff was eligible for leave pursuant to the Family and Medical Leave

Act.

                                                    84.

            According to the Family and Medical Leave Act, eligible employees are entitled to a total

of 12 workweeks of leave during any 12-month period for their own serious health condition that

makes the employee unable to perform the functions of the position of the employee. 29 U.S.C. §

2612(a)(1).

                                                    85.

            Under the Family and Medical Leave Act, employers are required to restore any eligible

employee who takes leave back into their position upon certification from the employee’s

healthcare provider that the employee is able to resume work. 29 U.S.C. § 2614(a).




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                                                86.

       Pursuant to the FMLA, “[i]t shall be unlawful for any employer to interfere with, restrain,

or deny the exercise or the attempt to exercise, any right provided under this chapter.” 29 U.S.C.

§ 2615(a)(1).

                                                87.

       As alleged herein, in April 2019, Plaintiff submitted a certification from her medical

provider showing that Plaintiff was unable to work due to her own serious health condition of

rheumatoid arthritis.

                                                88.

       Defendant approved Plaintiff’s request for leave soon thereafter.

                                                89.

       Initially, Plaintiff’s physician estimated that Plaintiff would be able to return to work in

May 2019, but subsequently extended that date to July 1, 2019 because Plaintiff’s condition had

not improved as initially expected.

                                                90.

       Prior to July 1, 2019, Plaintiff provided Defendant with her medical provider’s certification

that Plaintiff could return to work on July 1, 2019.

                                                91.

       On July 1, 2019, Plaintiff was actually able to work, and she attempted to return from her

FMLA leave.

                                                92.

       However, on July 1, 2019, Defendant refused to restore Plaintiff to the position that

Plaintiff held when her leave commenced.



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                                                 93.

       On July 1, 2019, Defendant refused to retore Plaintiff an equivalent position with

equivalent benefits, pay, and other terms and conditions of employment as the one that she held

when the leave commenced.

                                                 94.

       Defendant forced Plaintiff to extend her period of leave from July 1, 2019, until Plaintiff’s

involuntary resignation on November 1, 2019.

                                                 95.

       In the alternative, Defendant refused to allow Plaintiff to return to work on July 1, 2019

after, and as a direct result of, Plaintiff exercising her right to take leave pursuant to the Family

and Medical Leave Act.

                                                 96.

       Plaintiff was sustained economic injuries as a direct and proximate result of Defendant’s

violation of Plaintiff’s rights and/or retaliation for Plaintiff exercising her rights pursuant to the

Family and Medical Leave Act.

                                                 97.

       Defendant willfully violated Plaintiff’s rights under the Family and Medical Leave Act

because Defendant knew or showed reckless disregard for whether Defendant’s conduct was

prohibited under the Family and Medical Leave Act.

                                                 98.

       Pursuant to 29 U.S.C. § 2617(a)(1)(A)(i), Defendant is liable for damages equal to the

amount of wages, salary, employment benefits, and other compensation denied or lost to Plaintiff

by reason of this violation, in an amount to be proven at trial.



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                                                 99.

       Pursuant to 29 U.S.C. § 2617(a)(1)(A)(ii), Defendant is liable for interest on Plaintiff’s

damages, calculated at the prevailing rate, and in an amount to be proven at trial.

                                                100.

       Pursuant to 29 U.S.C. § 2617(a)(1)(A)(iii), due to Defendant’s willful violation of the Act

and reckless disregard of whether Defendant’s conduct was prohibited, Defendant is liable for an

additional amount as liquidated damages, equal to the total amount of Plaintiff’s damages and

interest as described herein, in an amount to be proven at trial.

                                                101.

       Pursuant to 29 U.S.C. § 2617(a)(1)(B), Defendant is liable for such equitable relief as may

be appropriate, including employment, reinstatement, and promotion.

                                                102.

       In addition to judgment being awarded in her favor, Plaintiff is entitled to reasonable

attorney’s fees, reasonable expert fees, and other costs of this action to be paid by Defendant, in

an amount to be proven at trial.

                                        COUNT IV:
                                   BREACH OF CONTRACT

                                                103.

       Plaintiff hereby pleads and incorporates by reference all of the allegations contained in

Paragraphs 1 through 55, as if the same were set forth herein.

                                                104.

       Under Georgia law, the elements of a breach of contract claim consist of a breach and the

resultant damages to the party who has a right to complain about the contract being broken. Norton

v. Budget Rent A Car Sys., 307 Ga. App. 501, 501 (2010).


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                                                105.

         Defendant had an obligation to compensate Plaintiff with a bonus, provided that Plaintiff’s

production met certain thresholds.

                                                106.

         As alleged herein, Plaintiff performed all conditions precedent to receiving the

aforementioned bonus compensation.

                                                107.

         However, Defendant refused to provide Plaintiff with the bonus compensation that she was

otherwise entitled.

                                                108.

         As a result of Defendant’s breach, Plaintiff has been injured and was unable to receive the

benefit of her bargain – bonus compensation for meeting certain production thresholds – pursuant

to Defendant’s agreement with Plaintiff.

                                                109.

         Accordingly, Plaintiff is entitled to an award of damages equal to the amount of bonus

compensation that Plaintiff would have otherwise received based on her agreement with Defendant

and interest on Plaintiff’s damages, calculated at the prevailing rate, in an amount to be proven at

trial.

                                                110.

         Defendant has acted in bad faith, has been stubbornly litigious, and has caused Plaintiff

unnecessary trouble and expense, and the Court is authorized to award Plaintiff reasonable

attorney’s fees and expenses of litigation in an amount to be proven at trial.




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                                                 111.

        In the alternative, provided that the evidence shows that no legal contract exists, the Court

should construe an implied contract in law to avoid Defendant’s unjust enrichment, and allow

Plaintiff to recover the amount of the benefit that she conferred on Defendant, as alleged herein.

                                         JURY DEMAND

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands trial by

jury on all issues so triable.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Terri Freeman respectfully prays for the following relief:

        1)      That Summons and Process be issued to Defendant Alkermes, Inc., and that said

Defendant be served as provided by law;

        2)      That this matter be tried before a jury;

        3)      That judgment be awarded for and in favor of Plaintiff and against Defendant on

Count I for discrimination based on disability, and grant Plaintiff all relief allowable under the

Americans with Disabilities Act;

        4)      That judgment be awarded for and in favor of Plaintiff and against Defendant on

Count II for discrimination based on disability, as a result of Defendant failure to provide Plaintiff

with a reasonable accommodation for her disability, and grant Plaintiff all relief allowable under

the Americans with Disabilities Act;

        5)      That judgment be awarded for and in favor of Plaintiff and against Defendant on

Count III for interference with Plaintiff’s right pursuant to the Family and Medical Leave Act, and

grant Plaintiff all relief allowable under the same, including liquidated damages and attorney’s

fees and costs of litigation;



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       6)      That judgment be awarded for and in favor of Plaintiff and against Defendant on

Count IV for breach of contract and/or unjust enrichment, and grant Plaintiff all relief allowable

under the law; and,

       7)      For such other relief as this Court shall deem just and proper.

       Respectfully submitted, this 8th day of June, 2021.


                                                  __________________________
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